      Case 1:21-cr-00383-EGS Document 31 Filed 04/18/22 Page 1 of 4




                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA         :
                                 :       No. 21-CR-383
          v.                     :
                                 :
PATRICK STEDMAN                  :
                                 :


                  CONSENT MOTION TO CONTINUE


     Defendant Patrick Stedman, by and through his

counsel Rocco C. Cipparone Jr., Esq., with the Consent

and agreement of the government, by and through its

attorney Peter Lallas, hereby moves the Court to

continue the currently set status hearing scheduled for

April 20, 2022 to a date in late July 2022, and to

exclude the time under the Speedy Trial Act in the

interests of justice.        In support of the motion the

defense states:

1.   Discovery in the case is particularly voluminous

including copious amounts of video footage, and

                                     1
      Case 1:21-cr-00383-EGS Document 31 Filed 04/18/22 Page 2 of 4




discovery is ongoing and not yet complete. The defense

and the government continue to work cooperatively to

ensure that discovery is progressing, and currently

there are no issues concerning which the parties

believe that Court intervention is necessary. Recently,

some uploaded discovery (through no fault of either

party) timed out and became no longer available (the

defense did not realize the time limit) and the

government has agreed to make such discovery available

again.

2.   The government has advised that it anticipates

still a large amount of additional discovery will need

to be provided, that is being collated and organized

for more facile presentation in an online database, the

arrangements for which still are in progress.

3.   The parties, including and particularly the

defendant, of course will need adequate time and

opportunity to access, review and analyze all discovery

in determining appropriate courses of action in this

matter.
                                    2
      Case 1:21-cr-00383-EGS Document 31 Filed 04/18/22 Page 3 of 4




4.   The undersigned counsel begins two essentially

back-to-back federal criminal trials in the U.S.

District Court for the EDPA: one on May 5, 2022 that

will last about 1.5 weeks. The second begins on May 31,

2022, involves approximately 8 defendants, and is

expected to last 6-8 weeks by the most recent estimate.

5.   In light of the foregoing, including defense

counsel’s trial schedule, it respectfully is requested

that the Court continue the status hearing from its

currently set April 20, 2022 date, to a date toward the

end of July 2022.

6.   I have discussed this motion with my client and

there is consent that the time between the filing of

this motion and the new date set by the Court if this

motion is granted, be excluded from computation under

the Speedy Trial Act because the ends of justice in

granting the continuance outweigh the interests of the




                                    3
     Case 1:21-cr-00383-EGS Document 31 Filed 04/18/22 Page 4 of 4




defendant and the public in a speedy trial.



                    Respectfully submitted,

                    Law Offices of Rocco C. Cipparone, Jr.

              BY: /s/Rocco C. Cipparone Jr.
                  Rocco C. Cipparone, Jr., Esquire
                  Dated: 04-18-2022




                                   4
